Case 19-21817-kl Doc10 Filed 07/22/19 Page1lof7

Fill in this information to identify your casero ae eRe ee arse act eee
Debtor | LaDonna M. Scott :

 

 

 

   

 

 

 

 

First Name Middle Name Last Name | °
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name |
United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA heck if this is an amended pian, and
list below the sections of the plan that
Case number: 49-21817 j * have been changed.
(If known)

Official Form 113
Chapter 13 Plan 12/17

 

= Notices

To Debtor(s): This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district, Plans that
do not comply with local rules and fudicial rulings may not be confirmable.

In the following notice to creditors, you must check each box that applies

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated,
You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. Hf you de not have
an attorney, you may wish to consult one,

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
alsCourt, The Bankruptcy Court may confinn this plan without further notice if no objection to confirmation is filed. See
Bankruptcy Rule 3015. in addition, you may need to file @ timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance, Debtors must check one box on each line to state whether ar not the
plan includes each of the following tiems. If an item is checked as “Not Included” or if both boxes are checked, the provision
will be ineffective if set out later in the plan,

 

 

 

 

11 A limit on the amount of a secured claim, set out in Section 3.2, which may result in | I [neluded C1 Not included
a partial payment or no payment at all fo the secured creditor

12 Avoidance of a judicial Hen or nonpossessory, nonpurchase-money security interest, | O Included Ei Not Included
set out in Section 3.4,

13 Nonstandard provisions, set out in Part 8. CJ Included EI Not Included

 

 

 

 

 

 

 

A Plan Payments and Length of Plan

24 Debtor(s) will make regular payments to the trustee as follows:
$530.92 per Month for 60 months

insert additional lines if needed.

Tf fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
payments to creditors specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner.
Check all that apply:

0 Debtor(s) will make payments pursuant to a payroll deduction order.
B Debtor(s) will make payments directly to the trustee,

oO Other (specify method of payment):

2.3 Income tax refunds.

Check ane.
7 Debtorfs) will retain any income tax refunds received during the plan term.
’ APPENDIX D Chapter 13 Plan Page |

Software Copyright (c} 1996-2019 Best Case, LLC - www. bestease.com . Best Cane@pnkruptcy

 
Case 19-21817-kl Doc10 Filed 07/22/19 Page 2of7

Debtor LaDonna M. Scott Case number 19-21817

 

a Debtor{s) wiil supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
refum and will tum over to the trustee all mmcome tax refunds received during the plan term.

oO Debtor(s) will treat income refunds as follows:

 

2.4 Additional payments,

Check one.
| None. if “None” is checked, the rest of § 2.4 need not be completed or reproduced.
25 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $31,855.20,

eiigeeed Treatment of Secured Claims

 

3.1 Maintenance of payments and cure of default, if any.

Check one,
| None, /f “None” is checked, the rest of § 3./ need not be completed or reproduced.

a The debtor(s) will maintain the current contractual instalment payments on the secured claims listed below, with any changes
required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
disbursements by the trustee, with interest, if any, at the rale stated, Unless otherwise ordered by the court, the amounts listed on
a proof of claim filed before the filing deadline under Bankruptey Rule 3002(c)} control over any contrary amounts listed below
as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
that collaterai will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
by the debtor(s)

     

     

 

 

Automobile
-repossessed
American 7-1-2019
Credit 2015 Buick Prepetition:
Acceptance Encore $384.00 $768.00 6.00% $85.73 $15,738.60
Disbursed by:
& Trustee
D Debtor(s)
insert additional claims as needed.
3.2 Request for valuation of security, payment of fully secured claims, anc modification of undersecured claims, Check one,
oO None. /f “None” is checked, the rest of § 3.2 need not be completed or reproduced.

The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

g The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
claim listed below, the debtor(s} state that the value of the secured claim should be as set out in the column headed Amount of
secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
of this pian. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
creditor’s tatal claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the

Official Form 113 Chapter 13 Plan Page 2
Software Copyright (c} 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 

 
Case 19-21817-kl Doc10 Filed 07/22/19 Page 3of7

Debtor LaDonna M. Scott Case number 49-21817

 

property interest of the debtor(s} or the estate(s)} until the earlier of:

(a) payment of the underlying debt determined under nonbankruptey law, or

(b} discharge of the underlying debt under 11 U.S.C. § 1328, at which time the Hen will terminate and be released by the creditor.

 

repossess
Del Mar ed
Recovery 7-1-2019
Solutions, 2015 Buick
Inc. $75.00 Encore $14,195.00 $0.00 $75.00 0.00% $6.82 $75.00

 

 

Insert additional claims as needed.

33 Secured claims excluded from 11 U.S.C. § 506,

Check one.

| None. ff “None” is checked, the rest of § 3.3 need not be completed or reproduced.
34 Lien avoidance.
Check one.

H None. if “None” is checked, the rest of § 3.4 need not be completed or reproduced.
3.5 Surrender of collateral.

Check one.
gi None, If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

fed Treatment of Fees and Priority Claims

 

41 General
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2 Trustee’s fees
Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and
during the plan term, they are estimated to total $3,185.40,

4.3 Attorney's fees,
The balance of the fees owed to the attorney for the debtor(s) is estimated to be $3,210.00.

44 Priority claims other than attorney’s fees and those treated in § 4.5.

Check one.
B None. /f “None” is checked, the rest of § 4.4 need not be completed or reproduced.

45 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

Check one.
BH None. /f “None” is checked, the rest of § 4.5 need not be completed or reproduced.

 

q Treatment of Noupriority Unsecured Claims

Official Form 113 Chapter 13 Plan Page 3
Software Copyright (c} 1996-2019 Best Case, LLC - www. bestease.com. Best Case Bankruptcy

 
Case 19-21817-kl Doc10 Filed 07/22/19 Page4of7

Debtor LaDonna M. Scott Case number 19-21817

5.1 Noupriority unsecured claims nat separately classified,

Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, If more than one option is checked, the option
providing the largest payment will be effective. Check al! that apply.

oO The sum of $

gE 50.00% of the total amount of these claims, an estimated payment of $7,595.05

Oo The funds remaining after disbursements have been made to all other creditors provided for in this plan.

Ifthe estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00.
Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one,
Ez None. if “None” is checked, the rest of § 5.2 need not be completed or reproduced.

53 Other separately classified nonpriority unsecured claims. Check one.
a None. /f “None” is checked, the rest af § 5.3 need not be completed or reproduced.

 

LeNkoses Executory Contracts and Unexpired Leases

61 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
contracts and unexpired leases are rejected, Check one.

OG None. ff “None” is checked, the rest of § 6./ need not be completed or reproduced.

H Assumed liems, Current instaliment payments will be disbursed either by the trustee or directly by the debtor(s), as specified
below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column
includes only payments disbursed by the trustee rather than by the debtor(s).

   

erate

 

 

 

 

 

 

 

 

Progressive bedroom sulte, and
Leasing sofa set $0.00 $6.00 $2,051.15
Disbursed by:
Bi Trustee
01 Debtor{s)
insert additional contracts or leases as needed.
ignwied Vesting of Property of the Estate
WA Property of the estate will vest in the debtor(s) upon
Check the appliable box:
Bi sopilan confirmation.
Ol sentry of discharge.
1] other:
Nonstandard Plan Provisions
8.1 Check "None" or List Nonstandard Plan Provisions
B None. if “None” is checked, the rest of Part 8 need not be completed or reproduced.
Rute] Signature(s):
9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney
Official Form 113 Chapter 13 Plan Page 4

Sofhvare Copyright (c) 1996-2019 Best Case, LLC - warw.bestcase.com Best Case Bankruptcy

 
Case 19-21817-kl Doc10 Filed 07/22/19 Page5of7

Debtor LaDonna M. Scott “ Case nuniber {9-24817

    
 

Vile Debtor(s} do not luave an atlorney jh ebtor(s) Alust sign below, otherwise the Debtor(s) signatures are optional, The attorney for Debtons),
Sany, dust sien below. ‘ :

X _isf LaDonna M, Soott} ( to Su Jett” x

ee LaDonna M, Scott . Signature of Debtor 2
; Signature of Debtor | L*

 

 

 

 

 

Executedon _July 19, 2019 Executed on an
co X {sf Inga Lewis Shannon Date July 18, 2019
ite: Inga Lewls Shannon 19133-45A

Slgnature of Attomey for Debtor(s)

mmefieaeite

By fling this document, die Debtor(s), Hf nat represelted by an attorney, or the Aitorney for Debtor(s) also certify(les) that the wording and
4d order of the provislous iu {his Chapter 13 plan ave identical fo those contained ln Offictal Ferna 113, other than any nonstandard provistons
‘Pe included fe Pare 8

“cof

i,
+

ficial Form 113 ‘ Chapter 13 Plan Page 5
“Pyare Copsrighl ich 1996-2039 Hest Case, LLC « wenw.braleasscom Bei Case Bankruptcy:

 

 
Case 19-21817-kl Doc10 Filed 07/22/19 Page 6of7

Debtor LaDonna M. Scoit Case number 19-21817

 

Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a. Maintenance and cure payments on secured claims (Part 3, Section 3./ total) $15,738.60
b. Modified secured claims (Part 3, Section 3.2 total) $75.00
c, Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total) : $0.00
a. Judicial liens or security interests partially avoided (Part 3, Section 3.4 total) $0.00
€, Fees and priority claims (Part 4 total) $6,395.40
f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount) $7,595.05
g. Maintenance and cure payments on unsecured claims (Part 5, Section 3.2 total} $0.00
i. Separately classified unsecured claims (Pari 5, Section 5.3 total) $0.00
i. ‘Trustee payments on executory contracts and unexpired leases (Part 6, Section 6./ total) . $2,051 1 5
j. Nonstandard payments (Paré 3, total) + . $0.00
Total of lines a through j $31,855.20
Official Fonn 113 Chapter 13 Plan Page 6

Software Copyzight (c) 1996-2019 Best Case, LLC - www. bestcase.com Best Case Bankruptey

 
Case 19-21817-kl Doc10 Filed 07/22/19 Page /7of7

    
   

I certify that on or about the A —ayot

,20/ _ sprvice of a true and complete
copy of the above and foregoing Amended Chapter 13

nserved by depositing fhe same in the United States mail

/SfINGA LEWIS SHANNON

Attorney at Law
4629 Melton Road, Suite C

Gary, TN 46403
(219) 881-9484

 

 
